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1    DANIEL BRODERICK Bar #89424
     Federal Defender
2    CARO MARKS, Bar #159267
     Senior Litigator
3    Assistant Federal Defender
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    OSCAR VILLAREAL
7
8
                        IN THE UNITED STATES DISTRICT COURT
9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )     No. 2:07-cr-00300-MCE
12                                   )
                    Plaintiff,       )
13                                   )     STIPULATION AND ORDER
          v.                         )
14                                   )
     OSCAR VILLAREAL,                )     Date: August 30, 2007
15                                   )     Time: 9:00 a.m.
                    Defendant.       )     Judge: Morrison C. England
16                                   )
     _______________________________ )
17
18        OSCAR Villareal, by and through his counsel, Caro Marks, Assistant
19   Federal Defender, and the United States Government, by and through its
20   counsel, Kyle Reardon, Assistant United States Attorney, hereby
21   stipulate and agree to vacate the previously scheduled Status
22   Conference Date of August 23, 2007 and set a new Status Conference date
23   of August 30, 2007 at 9:00 a.m..
24        This continuance is necessary to allow the parties time to
25   complete their investigations, specifically, interviews of a percipient
26   witness. The parties anticipate an eventual change of plea and possible
27   sentencing hearing, and need to complete their investigations in
28   preparation for the change of plea.
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1         IT IS STIPULATED that the period from the signing of this Order up
2    to and including August 30, 2007 be excluded in computing the time
3    within which trial must commence under the Speedy Trial Act, pursuant
4    to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for preparation of
5    counsel.
6
7                                            Respectfully submitted,
8                                            DANIEL BRODERICK
                                             Federal Defender
9
10
                                             /s/ Caro Marks
11                                           ________________________
                                             CARO MARKS
12                                           Assistant Federal Defender
                                             Attorney for Defendant
13                                           OSCAR VILLAREAL
14
     Dated: August 9, 2007
15
                                             MCGREGOR SCOTT
16                                           United States Attorney
17
                                             /s/ Kyle Reardon
18
                                             KYLE REARDON
19                                           Assistant U.S. Attorney
20
                                          ORDER
21
     IT IS SO ORDERED.
22
     Dated: August 9, 2007
23
24                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
25
                                           UNITED STATES DISTRICT JUDGE
26
27
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